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DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                          Order Filed on February 16, 2022
                                                                          by Clerk
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey



In Re:                                                   Case No.:                       21-30589
 LTL Management LLC
                                                         Adv. No.:

                                                          Hearing Date:

                                                          Judge:                    Michael B. Kaplan


      STIPULATION AND ORDER REGARDING DISCOVERY PLAN AND ESI PROTOCOL
                              

         The relief set forth on the following pageis hereby ORDERED.




DATED: February 16, 2022
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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


     In re                                                           Chapter 11


     LTL MANAGEMENT LLC, 1
                                                                     Case No. 21-30589-MBK

                                Debtor.                              Judge: Michael B. Kaplan




                                 STIPULATION AND ORDER REGARDING
                                 DISCOVERY PLAN AND ESI PROTOCOL

                      The Debtor LTL Management LLC (the “Debtor”), the Official Committee of Talc

 Claimants I (“Committee I”), the Official Committee of Talc Claimants II (“Committee II”),

 Arnold & Itkin LLP (“A&I”), and Aylstock, Witkin, Kreis & Overholtz (“AWKO” and together

 with the Debtor, Committee I, Committee II, and A&I, the “Parties”), through their respective

 counsel of record, hereby stipulate to the following plan governing discovery and protocol for the

 exchange of electronically stored information (“ESI”), in connection with this chapter 11 case,

 subject to approval by the Court.


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             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
             George Street, New Brunswick, New Jersey 08933.
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 1. General Terms. The following Agreed Discovery Plan and ESI Protocol (“Discovery

    Plan”) governs discovery, including discovery of hard-copy documents and ESI, in the

    chapter 11 case, unless this Discovery Plan is modified by the Parties or the Court. The

    Parties recognize that this Discovery Plan governs discovery in the chapter 11 case generally,

    and that the Parties will meet and confer about specific aspects of the Discovery Plan to

    address the circumstances of particular matters within the chapter 11 case that warrant

    exceptions to this Discovery Plan. Such exceptions shall be agreed to in writing or otherwise

    raised with the Court. Throughout this Discovery Plan, the Party issuing a request for

    production shall be referred to as the “Requesting Party” and the Party responding to a

    request for production shall be referred to as the “Responding Party.”

    1.1. Intent and Scope of Discovery Plan. If any provisions of this Discovery Plan conflict

        with the Parties’ actual obligations to produce ESI under applicable rules, this Discovery

        Plan shall be controlling. To the extent that the Parties have additional obligations or

        rights not addressed in this Discovery Plan, the applicable rule or order of the Court shall

        be controlling. Nothing in this Order is intended to broaden the scope of any Party’s

        obligations under the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy

        Procedure, the applicable local rules, any order of the Court, or applicable case law. The

        Parties will cooperate in good faith through the discovery process in this action and

        recognize that discovery of ESI is governed by the proportionality standard set forth in

        Federal Rule of Civil Procedure 26.

    1.2. Electronic Documents and Data. The Parties will cooperate with each other to address

        good-faith questions regarding what documents are responsive to specific discovery

        requests.



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    1.3. Reservation of Rights. The Parties reserve all rights under the Federal Rules of Civil

        Procedure, the Federal Rules of Bankruptcy Procedure, the applicable local rules, any

        order of the Court, or applicable case law for matters relating to the production of

        documents that are not specifically addressed in this Discovery Plan. The Parties will

        meet and confer regarding the production of any category or type of documents not

        specifically addressed in this Discovery Plan.

 2. Search and Identification of ESI. For each matter for which discovery is sought, the

    Parties shall meet and confer to develop reasonable search filters. The Parties shall use

    reasonable efforts to complete this meet-and-confer process as quickly as reasonably

    possible, and shall endeavor to complete it within five (5) business days of service of the

    discovery requests for the particular matter at issue. The Parties shall document in a separate

    writing the agreements that are reached with respect to the search filters to be applied for the

    specific matter for which discovery is sought. A Responding Party will begin rolling

    productions of responsive ESI after the Parties complete negotiations regarding reasonable

    search filters. The Parties will not wait until completing the review of all documents to start

    producing documents.

    2.1. Identification of Custodians and Shared Repositories. In connection with each

        matter for which discovery is sought, the parties will meet and confer about the

        individuals whose files are to be searched (each, a “Custodian”). In addition, the Parties

        will meet and confer about the sources of non-custodial data that the Parties will search

        (e.g., shared repositories, shared databases, and shared drives (each a “Shared

        Repository”)). The Requesting Party may identify Custodians and Shared Repositories

        that it believes in good faith will likely have discoverable, responsive, non-duplicative



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        documents or communications. The Responding Party may in good faith challenge any

        Custodians or Shared Repositories identified by the Requesting Party. The Parties will

        negotiate in good faith to reach agreement as to the number and identity of Custodians

        and Shared Repositories as soon as reasonably possible.

    2.2. Search Terms. In connection with each matter for which discovery is sought, the

        parties will meet and confer about reasonable search terms to be applied to the discovery

        requests. The Requesting Party may identify search terms that it believes in good faith

        will yield ESI that is responsive to the discovery requests. The Responding Party will

        test the proposed search terms and report back to the Requesting Party information about

        the reasonableness of the proposed search terms, including but not limited to the number

        of hits each term yielded and the results of sampling the documents that hit on the

        proposed search terms. The Parties will meet and confer in good faith to identify

        reasonable and appropriate search terms.

    2.3. Known Responsive Materials. The Parties understand that known responsive material

        must be produced. ESI that is known to the Parties, or their Counsel, to be non-

        privileged and responsive to a discovery request shall be produced without regard to

        whether it was responsive to a search term, of high “relevance” by a TAR text

        classification algorithm, or otherwise flagged as potentially responsive by another search

        technique, unless Counsel specifically identifies the documents as being withheld

        pursuant to a specific objection or Privilege.

    2.4. Discrete Document Collections. In connection with each matter for which discovery is

        sought, the parties will meet and confer about portions of Parties’ documents that

        represent discrete document collections, such as substantially relevant folders of ESI



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        specifically segregated by a Party, before or after the commencement of the case, that

        are substantially relevant to the claims in this case (“Discrete Document Collections”).

        During the meet-and-confer process, if Discrete Document Collections are identified, the

        Parties agree that they will be reviewed for responsiveness (subject to appropriate claims

        of privilege) without regard to whether a given document in the collection is responsive

        to a search term, of high “relevance” by a TAR text classification algorithm, or

        otherwise flagged as potentially responsive by another search technique.

    2.5. Additional Custodians and Shared Repositories. After the Parties agree on the

        Custodians and Shared Repositories to be searched, the Parties reserve the right to

        request searches of additional Custodians and Shared Repositories if it becomes apparent

        that other Custodians or Shared Repositories likely have non-duplicative responsive

        documents. The Parties shall meet and confer regarding such requests prior to any

        search or production related thereto. If the Parties are unable to resolve any dispute

        regarding Custodian or Shared Repository designation, whether concerning number or

        identity, the Requesting Party may seek relief from the Court.

    2.6. Not Reasonably Accessible ESI. The Parties agree that they will work cooperatively

        on determining what ESI is reasonably accessible and what is not and agree to consider

        in good faith reasonable requests for information on ESI management in that effort.

        Electronic documents of limited accessibility may include those created or used by

        electronic media no longer in use, maintained in redundant electronic storage media, or

        for which retrieval involves substantial cost. For purposes of this paragraph, the Parties

        agree that the following sources of ESI are not reasonably accessible:


                  x   Data stored in a backup system for the purpose of system recovery or
                      information recovery, including, but not limited to: disaster recovery

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                           backup tapes and media; continuity of operations systems; and data or
                           system mirrors or shadows.

                      x    Voicemail recordings.

                      x    Mobile devices and ESI or other data stored on mobile devices, including
                           smart phones or tablets, not used for business purposes. 2

                      x    Legacy Data (e.g., data stored on floppy discs).

                      x    Deleted, erased, or overwritten computer files, whether fragmented or
                           whole, which were deleted in the regular course of business.

                      x    Data stored in Random Access Memory (“RAM”), cache memory, or in
                           temporary or cache files, including internet history, web browser cache,
                           and cookie files, wherever located.

                      x    Encrypted data/password protected files, where the key or password
                           cannot be ascertained absent extraordinary efforts.

                      x    Data stored on printers, photocopiers, scanners, and fax machines.

                      x    Data stored as server, system, or network logs.

     2.7. Use of Other Review Analytics. The Parties may use other reasonable review analytics

          or tools, including but not limited to de-duplication, e-mail threading, inclusiveness-only

          review and production, and technology-assisted review to streamline the review of ESI,

          to the extent that those review analytics and tools are consistent with other provisions in

          the Discovery Plan, including provisions relating to the Form of Production (paragraph 3

          below). Those review and analytics tools used by any Party for culling ESI shall be

          disclosed to the other Party.

     2.8. Application of Search Methodology. The Parties shall meet and confer to develop a

          search methodology to be applied to identify and limit the volume of custodial ESI to be


 2
   For the avoidance of doubt, “mobile devices” does not include laptop computers. The exclusion of mobile devices
 not used for business purposes is included in paragraph 2.2 in accordance with the Chief Judge’s December 15, 2021
 ruling, over the objection of the Official Committee of Talc Claimants’ objections regarding the same.

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        reviewed for responsiveness. Within five (5) business days after a Party serves a request

        for production of documents, the Requesting Party shall provide proposed search terms

        to apply to their search of Custodian files and Shared Repositories as appropriate and

        attempt to reach agreement as to those search terms. In the event the identified search

        terms return an unmanageable volume of ESI for review, the Responding Party reserves

        the right to propose modifications to the proposed terms and will meet and confer with

        the Requesting Party regarding such a change. As specified in this Discovery Plan, the

        Parties may use certain other search methods and analytics tools to manage the volume

        of ESI for review.

    2.9. Encrypted Files. The Parties shall produce a report of the volume of identified

        password-protected or encrypted documents contained in a production. If a password-

        protected or encrypted document is identified on this provided list or is found during

        review, Parties will meet and confer to determine whether there are reasonable steps that

        can be taken to produce the password and/or cure the encryption associated with the

        document.

    2.10.      De-NISTing. Electronic files will be De-NISTed, removing commercially

        available operating system and application file information contained on the current

        NIST file list.

    2.11.      Proprietary File Types. The Parties agree to meet and confer to discuss any

        operating system or application file information needed to review and access proprietary

        file types that are not accessible on commercially available operating systems.

    2.12.      Date Range. The Parties agree that the search of ESI should be limited to the

        date range during which relevant information was most likely created or received. For



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        the purposes of this Discovery Plan, the date range shall be the same as the date range

        agreed to by the Parties in response to discovery requests.

    2.13.      Preservation Obligations. Nothing in this Discovery Plan shall affect the

        Parties’ respective preservation obligations imposed by rule or law.

 3. Form of Production. The Parties agree to produce responsive, non-privileged ESI in the

    manner set out in this Discovery Plan. The Parties agree to take reasonable steps not to

    degrade the searchability or legibility of ESI as part of the document review and production

    processes. Additionally, if responsive ESI warrants a format different than those set out

    below, the Parties will meet and confer in an effort to agree to a mutually acceptable format.

    3.1. Format for ESI. The Parties shall produce responsive, non-privileged ESI in the format

        set out in Exhibit A hereto unless otherwise agreed in writing or ordered by the Court.

    3.2. Format for Electronically Scanned Hard Copies. To the extent practicable, the

        Parties shall produce electronically scanned hard-copy documents in the applicable

        format set out in Exhibit A unless otherwise agreed in writing or ordered by the Court.

        In particular, the Parties shall format such documents with optical character recognition,

        or OCR, as described in Exhibit A and include the metadata fields identified in Exhibit

        A where that metadata is available.

    3.3. Family Production. The Parties shall produce documents and e-mail communications

        as family complete as is reasonably practicable. The Parties shall not take steps to

        dissociate attachments to e-mails or other documents from parent e-mails or documents

        even if the attachments are exact duplicates of other documents in the production.

        Parent documents and any attachments shall be assigned sequential Bates numbers. If a

        responsive, non-privileged e-mail or document has a privileged attachment, a Party may



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        replace the attachment with a Bates-numbered slip-sheet indicating that the attachment

        was withheld on privilege grounds or may redact the privileged material. Documents

        shall not be withheld or redacted for non-responsiveness if the document or its family

        contains responsive information.

    3.4. E-mail Threading. The Parties agree that e-mail threading and inclusiveness-only

        review and production may be applied to production documents such that only the most

        inclusive version of any responsive, non-privileged e-mail chain is produced, provided

        that the e-mail-threading process is performed by an e-discovery vendor in a manner

        consistent with standard practices in the industry and that all independent responsive,

        non-privileged branches of the chain are produced. If e-mail thread suppression is used,

        it will be populated in the EMAIL THREAD ID metadata field. Further, the use of e-

        mail thread suppression will under no circumstances eliminate the ability of the

        Receiving Party to identify every custodian who had a copy of the produced document

        or e-mail.

    3.5. Global Deduplication. The Parties agree that automated document de-duplication may

        be applied across ESI identified for review and production such that only one copy of

        any responsive, non-privileged document is produced, provided that the de-duplication

        process is performed by an e-discovery vendor in a manner consistent with standard

        practices in the industry. Further, de-duplication shall be performed only at the

        document family level such that attachments are not de-duplicated against identical

        stand-alone versions of such document and vice versa.

       3.5.1. Related Metadata. If a Party opts to apply document de-duplication, that Party

            shall include in its production “Other Custodian” metadata or some other field, to



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             the extent practicable, indicating each Custodian who appears from the available

             ESI to have maintained a copy of the produced document in his or her files (where

             such copy was removed from production through the de-duplication process).

        3.5.2. Metadata Preservation. The Parties shall preserve all available metadata fields

             for all ESI collected and searched pursuant to this Discovery Plan.

    3.6. Documents Previously Produced. Documents produced by a Party in this Chapter 11

        proceeding before this Discovery Plan was finalized can be reproduced by a Party as is

        without adhering to the production protocol in this Discovery Plan. The Parties agree to

        meet and confer regarding reasonable requests for additional information related to any

        documents produced before entry of this Discovery Plan.

 4. Privilege Logs. A Responding Party shall use reasonable measures, consistent with

    applicable law, to include information in their respective privilege logs sufficient to permit

    the Requesting Party to assess any privilege claims. Privilege Logs will be produced on a

    rolling basis along with the rolling production of responsive documents. The Parties agree to

    the production of Privilege Logs that correspond to the rolling production of volumes and to

    not wait to produce a privilege log until the end of the discovery review. The Parties shall

    meet and confer to discuss the manner in which documents withheld on the basis of privilege

    will be identified for each particular matter for which discovery is requested and shall raise

    any disputes as to the form of privilege log with the Court.

    4.1. Categorical Privilege Logging. The Parties shall meet and confer to discuss logging

        privileged documents categorically. Absent agreement, the Parties reserve their rights to

        seek relief from the Court.




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    4.2. Privilege Log Format. Unless (i) the Court orders otherwise or (ii) the Parties agree to

        do categorical privilege logs or otherwise agree in writing, the Parties shall provide their

        respective privilege logs consistent with Exhibit B hereto, to the extent possible.

    4.3. Post-Filing Documents. The Parties are not required to log any privileged documents,

        communications, information, trial preparation material, or work product generated after

        the filing of the petition initiating the case (i.e., October 14, 2021).

    4.4. Privilege Redactions. Where requested documents contain responsive information

        together with privileged or protected information and the privileged or protected

        information can be redacted by the Responding Party, while preserving for production

        the responsive information, the Responding Party shall apply such redactions and

        produce the requested documents. The word “Redacted”, followed by the reason for the

        redaction shall appear over the redacted portion or portions of such documents. A

        metadata field shall indicate that the document contains redactions and the basis for the

        redaction (e.g., “A/C Privilege”).

    4.5. Inadvertent Disclosure. Pursuant to Federal Rule of Evidence 502(d), inadvertent

        disclosure or production of information subject to the attorney-client privilege, the work-

        product doctrine, the joint-defense or common-interest doctrine or any other privilege or

        immunity from discovery or disclosure shall not constitute a waiver of, or an estoppel as

        to any claim of, such privilege, immunity, or protection (“Inadvertent Production”). Any

        Requesting Party, upon learning that such Inadvertent Production is subject to a claim of

        privilege or protection, through a communication from the Responding Party, shall

        destroy or return to the Responding Party such Inadvertent Production no later than ten

        (10) days from either learning of the Inadvertent Production or receiving a written



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        request from the Responding party for the return or destruction of such Inadvertent

        Production; provided, however, that the Requesting Party may have an auto-archived or

        otherwise backed-up copy pursuant to its archiving policy and is not otherwise required

        to initiate any additional steps to destroy or otherwise compromise its auto-archived

        files. Nothing in this paragraph shall affect any Party’s right to file a motion to compel

        the production of the Inadvertent Production on the basis that the Inadvertent Production

        is not subject to the attorney-client privilege, the work-product doctrine, the joint-

        defense or common-interest doctrine or any other privilege or immunity from discovery

        or disclosure. In the event that the Receiving Party determines to challenge the basis for

        asserting an Inadvertent Production, the ten-day destruction requirement is stayed until

        such a time as the issue can be ruled on by the Court.

    4.6. Reservation of Rights. The Parties reserve their rights to notify another Party of an

        Inadvertent Production that occurred prior to the entry of this Discovery Plan and to

        challenge the basis for asserting such an Inadvertent Production, pursuant to the

        procedure set forth in paragraph 4.5 above.

 5. Other Redacted Information. Where requested documents contain responsive information

    together with other non-privileged information that should be redacted (such as personally

    identifying information (“PII”), confidential information, or non-responsive information), the

    Responding Party shall apply appropriate redactions and produce the requested documents.

    The word “Redacted”, followed by the reason for the redaction (e.g., PII, confidentiality,

    non-responsive, per agreement of the parties) shall appear over the redacted portion or

    portions of such documents. A metadata field shall indicate that the document contains

    redactions and the basis for the redaction.



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 6. Scope of Discovery. Nothing in this Discovery Plan constitutes an agreement regarding the

    appropriate substantive scope of discovery, the responsiveness of any document or category

    thereof, or the relevance or admissibility of any document or category thereof. The Parties

    reserve all objections as to discoverability, relevance, authenticity, use, and admissibility.

 7. Resolution of Disputes. The Parties agree to meet and confer in good faith regarding

    matters related to the production of ESI set forth in this Discovery Plan, the production of

    ESI not set forth in this Discovery Plan, and the Parties’ obligations, if any, in respect of

    both. If a Responding Party determines that it cannot comply with any material aspect of this

    Discovery Plan, such Party shall promptly inform the Requesting Party why compliance is

    impracticable. If the Parties are unable to resolve a dispute concerning interpretation of or

    compliance with this Discovery Plan or the production of ESI, whether or not pursuant to this

    Discovery Plan, the Parties shall submit the dispute to the Court for adjudication, provided

    that the Parties have previously met and conferred regarding the dispute. Nothing herein

    shall affect the Parties’ respective burdens of proof or persuasion in connection with any

    motion or dispute submitted for resolution by the Court.

 8. Non-English Documents. To the extent that Documents are produced that contain

    languages other than English, in whole or in part, the Responding Party shall produce each

    such Document in the original language or languages in which it was written when collected.

    The Responding Party has no obligation to create a translation of the Documents or any

    portion thereof but shall provide any translation of the Document or any portion thereof that

    already exists or that the Responding Party elects to create through machine translation prior

    to the production of the Document.




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 9. No Waiver. Nothing in this Discovery Plan, including any meet-and-confer obligation

    specified, constitutes a waiver of any privilege or protection available by law, including

    either Party’s attorney-client privilege or the protection afforded to work product and trial

    preparation materials.

 10. Modifications. The Parties may, by agreement, modify any provision in this Discovery

    Plan. Further, if the Parties are unable to agree regarding a proposed modification, the Party

    requesting the modification may seek relief from the Court.




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                                             Exhibit A

        The Parties shall produce responsive, non-privileged ESI in the following format unless

 agreed otherwise or pursuant to an order of Court:

 1. ESI should be produced in Concordance, Opticon, or universal format.

 2. Native Format. All spreadsheet files (e.g., Microsoft Excel, Corel Quattro, etc.), media files

    (e.g., .wav, .mp3, .aiff, .avi, .mov, .mp4), database files, and presentation (e.g., PowerPoint)

    shall be produced as native files with TIFF placeholder images. In addition, all word

    processing files (e.g., Microsoft Word) that have track changes or comments will be

    produced in native format. All word processing files that do not have track changes or

    comments will be produced according to paragraph 4 of Exhibit A. The Parties will provide

    native files, named according to ProdBegDoc, in a separate folder and provide the path to the

    native file in the DocLink field of the .DAT file. Documents produced in native file format

    shall be produced in the manner such files were maintained electronically in the ordinary

    course of business, unless the native file is redacted for an authorized purpose. A

    placeholder TIFF shall be produced indicating the Bates number of the native file and

    confidentiality designation, if applicable. In the event any document produced in native

    format is to be used as an exhibit at deposition, trial or otherwise, the Parties may request that

    the Party using such exhibit provide the MD5 programmatic hash value of the underlying

    electronic file from which the exhibit is derived to be provided to all Parties, and such

    information should be provided promptly.

    2.1. Request for Natives. The Parties reserve the right to request native files for individual

         ESI documents produced in TIFF format.
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 3. Redactions to Native Format. Excel and spreadsheet files will be produced in Native

    Format with redactions in place using a native file redaction tool. Any redactions (e.g.,

    privacy, privilege, confidentiality, per agreement of the parties) shall be clearly indicated on

    the face of the document, with each redacted portion of the document stating that it has been

    redacted and the basis for the redaction, and the REDACTION metadata field shall indicate

    that the document contains redactions and the basis for the redaction (e.g., “A/C Privilege”).

    To the extent redactions are necessary in a non-spreadsheet document to be produced in

    native form, and the ability to remove such redactions cannot practicably be done in native

    form, the document may be converted to TIFF format, or some comparable image file type,

    for redaction. To the extent that such conversion erodes the legibility or significant

    functionality of a document, the Parties agree to meet and confer in good faith to determine

    how such document can be produced without those limitations, to the extent practicable, and

    while still protecting the redacted information. If a document contains redactions, the

    producing Party may withhold from the redacted document Load File only the metadata

    directly associated with the redactions and shall identify all such redactions on the privilege

    log and further indicate the nature of the privilege asserted. Where a responsive and non-

    privileged document contains both redacted and non-redacted content, the Producing Party

    shall produce the remainder of the non-redacted portions of the document and the text/OCR

    corresponding to the non-redacted portions.

    3.1. All native files that require redactions shall first be processed to show and reveal all

        color, comments, revision marks, speaker notes, or other user-entered data which are

        visible in any view of the document in its native application, all of which shall be

        evident in the generated TIFF image(s). Where reasonably possible, any occurrence of



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        date/time auto field items, including in headers and footers, will be removed and

        replaced with the term AUTODATE to prevent the current date from being printed.

        Email header information (e.g., date, subject line, etc.) should not be redacted unless the

        redaction is otherwise authorized. The production of a document in a redacted form

        does not affect Party’s obligation to timely assert and substantiate the assertion of

        privilege over the content in a privilege log. Parties shall honor reasonable requests to

        produce redacted documents in other formats where the TIFF image is not reasonably

        usable. Redacted versions of documents that contain color in their unredacted form shall

        be produced in color in JPG format if a Party deems color necessary to understand the

        document.

 4. TIFFs. Bates-branded, black and white, Group 4, single page TIFF files at 300 dpi, named

    according to sequential Bates number will be produced for all ESI documents except for

    those found in Exhibit A Sec. 2. S ingle-page TIFF files will be delivered in unique

    sequentially numbered folders (i.e., 001, 002, 003) and each folder shall not consist of more

    than 2,000 images. No image file name shall contain spaces or underscore symbols. If a

    document was not produced in color and a Party deems color necessary to understand the

    document, they may request a color image or native form of that document. JPG format may

    be used for pages that require production of color images. All image files should cross

    reference to both the log file for Opticon image base (.OPT) and Concordance delimited text

    file (.DAT). If a document is more than one page, the unitization of the document and any

    attachments and/or affixed note shall be maintained as it existed in the original when creating

    the image file.




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 5. TIFF Reference File. A log file for Opticon image base (.OPT) that lays out the document

    unitization of each discrete document will be produced.

 6. Embedded Files. Embedded files, except for images or files embedded in emails or in

    natively produced files, are to be produced as family groups. Embedded files should be

    assigned Bates numbers that directly follow the Bates numbers of the documents within

    which they are embedded. Where an embedded file is privileged, the parent document shall

    be produced in TIFF format and not native.

 7. Hard Copy Documents. Hard-copy or paper documents should be converted to Group IV,

    single-page TIFF format image files. Parties shall use reasonable efforts to ensure that hard

    copy paper documents are logically unitized prior to production. Therefore, when scanning

    or producing paper documents, Parties shall use reasonable efforts to ensure that distinct

    documents are not merged into a single file or database record, and distinct documents shall

    not be split into multiple files or database records.

    7.1. Grouped Hard Copy Documents. Where a hard-copy document, or a group of

        documents – such as a folder, clipped bundle, or binder – has an identification spine or

        other label, the information on the label shall be scanned and produced as a first

        document in the unitized grouping of the documents. Documents found in such

        groupings shall be produced with a metadata indicator associating them as family

        members.

 8. Dynamic Fields. Documents with dynamic fields for file names, dates, and times will be

    processed to show the field code (e.g., “[FILENAME]”) rather than the values for such fields

    existing at the time the file is processed.




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 9. Extracted Text Files. For each item of ESI, and any hard-copy or paper document that has

    been converted to TIFF image file, document level TXT files should be provided in a

    separate folder and should have file names that are identical to the first TIFF image file of the

    corresponding images for a document. To the extent practicable, text from native files

    should be extracted directly from the native file, except that, where redaction is necessary for

    a document to be produced in native format, the text file corresponding to such document

    may be extracted from the OCR of the redacted image file (as opposed to from the native

    file). Redactions shall be reflected in the multipage TXT file containing OCR for searching

    purposes.

 10. Unique IDs. Each TIFF image shall have a unique, sequential Bates number. Each Native

    file shall have a unique, sequential Bates number applied to the TIFF placeholder indicating

    that the file has been produced in native format.

 11. Metadata. Where available, the Parties shall produce the following metadata fields for all

    ESI and scanned hard-copy or paper files produced, in an ASCII delimited text file (.DAT),

    using standard Concordance delimiters:


                                                                                                   Required
                                                                                   Required
                                                                                                   for Non-
              Field Name                      Field Description              Paper   for
                                                                                                    E-mail
                                                                                    Email
                                                                                                     ESI
      Custodian                      Name of custodian(s) of email(s) or       X          X             X
                                     file(s) produced (Last Name, First
                                     Name format) as available
      All Custodians                 Name of all custodian(s) of email(s)      X          X             X
                                     or file(s) produced
      BegBates                       Beginning Bates# (including Prefix)       X          X             X
      EndBates                       Ending Bates# (including Prefix)          X          X             X




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                                                                                       Required
                                                                            Required
                                                                                       for Non-
              Field Name                Field Description             Paper   for
                                                                                        E-mail
                                                                             Email
                                                                                         ESI
     BegAttach                 Beginning Bates number of the first     X       X          X
                               document in an attachment range
                               (only in emails with attachments)
     EndAttach                 Ending Bates number of the last         X       X          X
                               document in attachment range (only
                               in emails with attachments)
     ParentID                  Populated for all attachments and       X       X          X
                               indicates the BegBates of the Parent
                               document.
     From                      From field extracted from an email              X
                               message
     Author                    Author field extracted from the                            X
                               metadata of a non-email document
     To                        To field or Recipient extracted from
                                                                               X
                               an email message
     Cc                        Carbon Copy (“Cc”) field extracted              X
                               from an email message
     Bcc                       Blind Carbon Copy (“Bcc”) field                 X
                               extracted from an email message
     EmailSubject              Subject line extracted from an email            X
                               message
     Filename                  File name — Original name of file as                       X
                               appeared in original location
     Title                     Title field extracted from the                             X
                               metadata of a non-email document
     DateSent                  Sent date of an email message                   X
                               (mm/dd/yyyy format) (a given email
                               will have either a DateSent or Date
                               Rcvd, but not both)
     DateRcvd                  Received date of an email message               X
                               (mm/dd/yyyy format) (a given email
                               will have either a DateSent or Date
                               Rcvd, but not both)




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                                                                                           Required
                                                                                Required
                                                                                           for Non-
             Field Name                   Field Description               Paper   for
                                                                                            E-mail
                                                                                 Email
                                                                                             ESI
     DateTimeCreated             Date and time the file/email was                  X          X
                                 created (mm/dd/yyyy 00:00:00
                                 AM/PM format)
     DateLastModified            The application recorded time on                             X
                                 which the document was last
                                 modified
     TimeSent                    Time e-mail was sent (hh:mm:ss                    X
                                 format) (a given email will have
                                 either a TimeSent or Time Rcvd, but
                                 not both)
     TimeRcvd                    Time e-mail was received (hh:mm:ss                X
                                 format) (a given email will have
                                 either a TimeSent or Time Rcvd, but
                                 not both)
     DateTimeMod                 Date and time the file/email was last             X          X
                                 saved    (mm/dd/yyyy        00:00:00
                                 AM/PM format)
     NativeLink                  Relative path to any files produced in            X          X
                                 native format
     TextLink (if text is        Relative path to any OCR/extracted        X       X          X
     exchanged)                  text files in the production set
     HashValue                   MD5 or SHA-1 hash value used to           X       X          X
                                 deduplicate the data
     Confidentiality Designation Confidentiality Designation        for    X       X          X
     (for natively produced natively produced documents
     documents only, if required)



     Redacted                    “Yes,” and “True” are both                X       X          X
                                 acceptable indicators that the
                                 document is redacted. Otherwise,
                                 blank.




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                                                                                            Required
                                                                                 Required
                                                                                            for Non-
              Field Name                 Field Description                 Paper   for
                                                                                             E-mail
                                                                                  Email
                                                                                              ESI
     Redacted Reason            Explanation for Redaction. Text             X       X          X




     Email Thread ID            Unique identification number that                   X
                                permits     threading      of     email
                                conversations. For instance, unique
                                MS Outlook identification Number
                                (“PR_CONVERSATION_INDEX”)
                                is 22 bytes in length, followed by
                                zero or more child blocks each 5
                                bytes in length, that facilitates use of
                                email threading.
     TimeZoneUsed               Time zone used to process data                      X          X
                                during document collection and
                                processing.



     DocExt                     File extension of the document.             X       X          X




     Paper                      “Y” if document is scanned from             X
                                hard copy in connection with the
                                collection and production of
                                documents in this matter.


     ImageCount                 Total pages in documents                    X       X          X




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                                                                                      Required
                                                                           Required
                                                                                      for Non-
            Field Name                   Field Description           Paper   for
                                                                                       E-mail
                                                                            Email
                                                                                        ESI
     HasRevisions               “Yes,” and “True” are both                    X          X
                                acceptable indicators that the
                                document has revisions. Otherwise,
                                blank.


     HasComments                “Yes,” and “True” are both                    X          X
                                acceptable indicators that the
                                document has comments.
                                Otherwise, blank.


     HasHiddenText              “Yes,” and “True” are both                    X          X
                                acceptable indicators that the
                                document has hidden text.
                                Otherwise, blank.


     HasHiddenslides            “Yes,” and “True” are both                               X
                                acceptable indicators that the
                                document has hidden slides.
                                Otherwise, blank.


     HasSpeakerNotes            “Yes,” and “True” are both                               X
                                acceptable indicators that the
                                document has speaker notes.
                                Otherwise, blank.


     HasHiddenRows              “Yes,” and “True” are both                               X
                                acceptable indicators that the
                                document has hidden rows.
                                Otherwise, blank.


     HasHiddenColums            “Yes,” and “True” are both                               X
                                acceptable indicators that the
                                document has hidden columns.
                                Otherwise, blank.



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                                                                                     Required
                                                                          Required
                                                                                     for Non-
            Field Name                  Field Description           Paper   for
                                                                                      E-mail
                                                                           Email
                                                                                       ESI
     HasHiddenWorksheets        “Yes,” and “True” are both                              X
                                acceptable indicators that the
                                document has hidden worksheets.
                                Otherwise, blank.


     HasVeryHiddenWorkSheets “Yes,” and “True” are both                                 X
                             acceptable indicators that the
                             document has very hidden
                             worksheets. Otherwise, blank.


     REPLACEMENT                “Replacement” indicates the image    X       X          X
                                is a replacement for a previously
                                produced image; otherwise, blank.




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                                              Exhibit B
        A Responding Party shall use reasonable measures, consistent with applicable law, to

 include information in their respective privilege logs sufficient to permit the Requesting Party to

 assess any privilege claims. Consistent with this obligation, a Responding Party may provide the

 following information, where available, for any document withheld on the grounds of privilege

 or protection from disclosure and for any document produced with redactions, to the extent that

 providing such information would not waive any privilege or protection. For clarity, the third

 column presents exemplar language simply for purposes of explaining the corresponding fields.

 It is not mandatory that the Parties use the exact language in the privilege logs:


  Preferred Field Name             Description                       Example
  Parent/Child                     Identifying whether a             Parent, Child
                                   document is the parent
                                   document or child document
                                   in a family
  ProdBegDoc                       Start Bates number for            ABC0000
                                   redacted documents.
  EndAtt ID or ProdEndAtt          End identifier value of last      ABC0503
                                   attachment. Bates number for
                                   redacted documents.
  DocType or File Extension        The file type determined by       Microsoft Office Word or
                                   the file signature (Excel,        .doc
                                   Word, etc.).
  Author/From                      Who drafted or sent the           Doe, Jane
                                   document or message, as
                                   appropriate.
  TO                               Email TO recipients. Or those     Mary Smith; Tjones
                                   whose received the
                                   document, as appropriate.
  FROM                             Email sender (author).            Doe, John
  CC                               Email CC recipients.              Some User
  BCC                              Email BCC recipients.             Johnson, M.
  Date                             The date and time the file was    4/1/2003 8:12:32 AM
                                   created, or if an email the
                                   date and time the email was
                                   received by the custodian.
  EmailSubject                     Subject line extracted from an    Re: Meeting Minutes
                                   email message. May be
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                                  withheld or redacted to
                                  protect information protected
                                  from disclosure.
  Filename                        File name — Original name         Meeting Minutes
                                  of file as appeared in original
                                  location. May be withheld or
                                  redacted to protect
                                  information protected from
                                  disclosure.
  Custodian                       The Custodian associated          Doe, John
                                  with the item.
  Other Custodians                All custodians who retained a     Doe, John; Doe, Jane; Smith,
                                  duplicative copy of the file in   Mary
                                  their ESI files, to the extent
                                  available.
  Redacted or Withheld            Identifying whether a             Produced with Redactions
                                  document was withheld in its      Or
                                  entirety or produced with         Withheld Entirely
                                  redactions.
  Privilege / Protection Type     Basis for withholding or          Attorney-Client Privilege,
                                  redacting document.               Trial Preparation Material
  Privilege / Protection          Brief explanation of basis for    E-mail communication
  Description                     withholding or redacting          reflecting legal advice
                                  document with enough              provided by in-house counsel
                                  information for Requesting        on intellectual property
                                  Party to assess claimed basis.    matter.




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  This Order has been signed electronically.          United States Bankruptcy Court
  The judge’s signature and court’s seal appear
  at the top of the Order.
